AO 440 (Rev. KESG ata RONG

PERG aan Ree EE Mo 85, Get tes HREPLAP E20 Tafel bls

SUMMONS IN A CIVIL ACTION
UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

PATRICIA LEVINE,

Plaintiff,

v.

LOUIS DEJOY, POSTMASTER GENERAL,
US POSTAL SERVICE,

Defendant.

A lawsuit has been filed against you.

YOU ARE HEREBY SUMMONED and required to serve
upon plaintiff, an answer to the attached conplaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure within

60 days after service of this summons on you (not
counting the day you received it). Ify ou fail to respond,
judgment by default will be entered against you for the relief
demanded in the complaint. You must also file your answer
or motion with the Court.

The Court has offices in the following locations:

399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
P.O. Box 698, 330 Federal Building, Marquette, MI 49855

107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007

113 Federal Building, 315 W. Allegan, Lansing, MI 48933

Case No. 1:20-cv-1208
Hon. Paul L. Maloney

TO: U.S. Attorney for the Western District of Michigan

ADDRESS: 330 lonia Avenue, N.W., Suite 501

Grand Raids, MI 49503

PLAINTIFF OR PLAINTIFF’ § ATTORNEY NAME AND ADDRESS
Glenn L. Smith (P43156)
WHEELER UPHAM, PC
250 Monroe Ave., NW, Suite 100
Grand Rapids, Mi 49503

CLERK OF COURT

December 17, 2020

Dale

PROOF OF SERVICE

This summons for

U.S. Attorney for the Western District of Michigan

was received by me on

(name of individual and tile, ifany)

Sat personally served the summons on the individual at Frout Qos

2 ogy fe Be
J. eb Seb oe

(date)

3 ‘3 cS Toa ue, fay & Bie, Sue Saf

on pe ce Wipe 32 DO LO

(date)

[_]I left the summons at the individual’s residence or usual place of abode with

of suitable age and discretion who resides there, on

(place where served)

G Coad Roxy cle A YF SO 3

a person

(name)

, and mailed a copy to the individual’s last known address.

(date)

[_]l served the summons on

, who is designated by law to accept service

(name of mdividual)

of process on behalf of

on

(name of organization)

[_]I returned the summons unexecuted because

(date)

[Other gpecify

My fees are $ for travel and $

for services, for a total of $

I declare under the penalty of perjury that this information is true.

Date:_/ +. L2 RAS EOBZ CS

Bette eit Ste Nas

£

Additional information regarding attempted service, etc.:

Donard Daniel Ausa

